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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 JAMES PARSONS, individually and as                      Case No.: 2:19-cv-01189-APG-EJY
   Special Administrator of the Estate of
 4 Carolyn Lee Parsons, and ANN-MARIE                  Order Denying Motion to Certify Order
   PARSONS,                                                   for Interlocutory Appeal
 5
          Plaintiffs                                                 [ECF No. 116]
 6
   v.
 7
   COLT’S MANUFACTURING COMPANY,
 8 LLC, et al.,

 9          Defendants

10         The defendants move to certify some of my prior orders so they may pursue an

11 interlocutory appeal to the Ninth Circuit. ECF No. 116. This case is currently paused pending a

12 ruling from the Supreme Court of Nevada on questions certified to that court. ECF Nos. 104,

13 109. After receiving that ruling, the parties must address my order to show cause why this case

14 should not be remanded to state court. See ECF Nos. 130, 132. Until the remand issue is

15 resolved, it is premature to seek a decision from the Ninth Circuit. I therefore deny without

16 prejudice the motion (ECF No. 116) to certify my orders for interlocutory appeal.

17         DATED this 18th day of February, 2021.

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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